                                        UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF CALIFORNIA
                                                OAKLAND DIVISION


    In re: POTTER, DEAN GORDON                                 §    Case No. 06-42425
                                                               §
                                                               §
                                                               §
                                Debtor(s)


                                            TRUSTEE'S FINAL REPORT (TFR)

           The undersigned trustee hereby makes this Final Report and states as follows:

          1. A petition under Chapter 11 of the United States Bankruptcy Code was filed on 12/12/2006. The case
    was converted to one under Chapter 7 on 03/24/2016. The undersigned trustee was appointed on 03/24/2016.


           2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

           3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor as
    exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to 11 U.S.C. § 554.
    An individual estate property record and report showing the disposition of all property of the estate is attached
    as Exhibit A.

           4. The trustee realized the gross receipts of               $       1,209,885.54
                            Funds were disbursed in the following amounts:

                            Payments made under an
                             interim distribution                                       0.00
                            Administrative expenses                                42,486.86
                            Bank service fees                                       3,724.40
                            Other payments to creditors                                  0.00
                            Non-estate funds paid to 3rd Parties                         0.00
                            Exemptions paid to the debtor                                0.00
                            Other payments to the debtor                                 0.00
                            Leaving a balance on hand of1              $        1,163,674.28
    The remaining funds are available for distribution.

   1The  balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to
   disbursement will be distributed pro rata to creditors within each priority category. The trustee may receive additional
   compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on account of the disbursement
   of the additional interest.




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           5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.

           6. The deadline for filing non-governmental claims in this case was 07/15/2016 and the deadline for filing
    governmental claims was 09/20/2016. All claims of each class which will receive a distribution have been
    examined and any objections to the allowance of claims have been resolved. If applicable, a claims analysis,
    explaining why payment on any claim is not being made, is attached as Exhibit C.


           7. The Trustee's proposed distribution is attached as Exhibit D.
           8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is $59,546.57. To
    the extent that additional interest is earned before case closing, the maximum compensation may increase.


            The trustee has received $0.00 as interim compensation and now requests the sum of $59,546.57, for a
    total compensation of $59,546.572. In addition, the trustee received reimbursement for reasonable and
    necessary expenses in the amount of $0.00 and now requests reimbursement for expenses of $291.66 for total
    expenses of $291.662.

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
    and correct.




    Date: 06/21/2018                                     By: /s/ Sarah Little
                                                                         Trustee




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. §1320.4(a)(2) applies.




          2If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the

    amounts listed in the Trustee's Proposed Distribution (Exhibit D)



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                                             Individual Estate Property Record and Report                                                                      Page: 1

                                                              Asset Cases
Case No.:    06-42425                                                                               Trustee Name:      (001770) Sarah Little
Case Name:         POTTER, DEAN GORDON                                                              Date Filed (f) or Converted (c): 03/24/2016 (c)
                                                                                                    § 341(a) Meeting Date:       04/29/2016
For Period Ending:          06/21/2018                                                              Claims Bar Date:      07/15/2016

                                        1                                   2                      3                      4                    5                    6

                           Asset Description                             Petition/         Estimated Net Value     Property Formally     Sale/Funds            Asset Fully
                (Scheduled And Unscheduled (u) Property)               Unscheduled        (Value Determined By        Abandoned        Received by the      Administered (FA)/
                                                                          Values                 Trustee,             OA=§554(a)           Estate            Gross Value of
                                                                                         Less Liens, Exemptions,       abandon.                             Remaining Assets
  Ref. #                                                                                    and Other Costs)

    1       Commercial Real Estate at McHarry                            638,400.00                 175,000.00                             826,000.00                            FA
            Ranch Road, Martinzez, CA 94553
            Entirety
            Property is included in purchase/settment agreement
            with Potter group. Order approving compromise docket
            882, report of sale docket 888

    2       Residential real property at 100 Volz                      1,000,000.00                         0.00                                   0.00                          FA
            Court, Alamo, CA 94507
            Appears this asset was sold March 2014, $600,933.51
            net proceeds deposited into Court registry (UST Motion
            to convert docket 765 page 4)

    3       Residential Real Property at 155                             576,000.00                         0.00                                   0.00                          FA
            Edgewater, Rio Vista, CA 94571 Entirety
            $469,279.36 net proceeds deposited into court
            registery Jan/feb 14, (UST Motion to convert docket
            765 page 4)

    4       Cash on person                                                  1,000.00                        0.00                                   0.00                          FA
            Cash no longer in possession of Debtor

    5       Bank of America, Minden, NV                                     2,500.00                        0.00                                   0.00                          FA
            Bank balance as of date of filing in 2006, funds are not
            in account.

    6       Bank of the West, Benecia, CA shares in                         1,000.00                        0.00                                   0.00                          FA
            banks, savings and loan,
            Account overdrawn. See docket # 797

    7       Gold Coin Account - CHF, Safe Deposit                         20,000.00                         0.00                                   0.00                          FA
            Account XX-XXXXXXX-03 Non-signatory
            account Migros Bank Seidengasse 12
            Zurich
            Liquidated pre-conversion. $17,239.02 deposited in
            court registry. See docket # 797.

    8       Furniture consisting of dining room table,                      7,000.00                        0.00                                   0.00                          FA
            chairs, 2 couches, bedroom set, 3 rugs,
            and various lams, tables, pictures, and
            mirrors
            See docket #797 for updated value of assets

    9       Compact disks at 100 Volz Court, Alama,                             600.00                      0.00                                   0.00                          FA
            CA, and 15, Edgewater, Rio Vista, CA

   10       Clothing at 100 Volz Court, Alama, CA,                          1,500.00                        0.00                                   0.00                          FA
            and 155 Edgewater, Rio

   11       jewelry brought for wife                                        2,000.00                        0.00                                   0.00                          FA

   12       IRA Fiserv ISS & Co..                                        443,774.00                         0.00                                   0.00                          FA
            Liquidated pre-conversion. Funds deposited in court
            registry. See Final Report, docket # 797.

   13       UNICO Industrial Service Co. S                                50,000.00                    50,000.00                              49,999.00                          FA
            Corporation
            Entity still operating but doesn't hold any assets and
            only has a couple employees that do work at HAP.
            Included in offer to purchase by Randy and Michael
            Potter. Included in purchase/settlement agreement
            with Potter Group. Order approving compromise
                Case: 06-42425
            docket 886, report of sale docket 888      Doc# 897           Filed: 07/23/18              Entered: 07/23/18 14:43:46                        Page 3 of
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                                                             Asset Cases
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Case Name:         POTTER, DEAN GORDON                                                            Date Filed (f) or Converted (c): 03/24/2016 (c)
                                                                                                  § 341(a) Meeting Date:       04/29/2016
For Period Ending:         06/21/2018                                                             Claims Bar Date:      07/15/2016

                                       1                                    2                    3                      4                    5                    6

                           Asset Description                             Petition/       Estimated Net Value     Property Formally     Sale/Funds            Asset Fully
                (Scheduled And Unscheduled (u) Property)               Unscheduled      (Value Determined By        Abandoned        Received by the      Administered (FA)/
                                                                          Values               Trustee,             OA=§554(a)           Estate            Gross Value of
                                                                                       Less Liens, Exemptions,       abandon.                             Remaining Assets
  Ref. #                                                                                  and Other Costs)

   14       Non-Qualified Deferred Compensation                        1,574,490.00                       0.00                                   0.00                          FA
            Plan Itemize.
            1019 statement says funds were disposed of
            preconfirmation but nothing about where the funds
            went. Email to Hinds 7/25 requesting more detail. IT
            appears from operating reports that in Month of August
            2014, the money was deposited with registry, no court
            order related.

   15       Blackrock Factoring and unincorporated                       100,000.00               200,000.00                             224,000.00                            FA
            businesses. Itemize.
            being resolved in global settlement with IRS and Potter
            group. Order approving compromise, docket 887,
            report of sale docket 888

   16       Historical Arsenal Park                                    1,600,000.00               675,000.00           OA                        0.00                          FA
            property contaminated by Army and others use of
            industrial solvents. Tax basis in property such that any
            disposition results in sig. capital gain.
             Order authorizing abandonment, docket 887.

   17       Genoa, NV Properties                                         120,000.00                       0.00                                   0.00                          FA
            From UST Motion to Convert Docket 765 $81,267.99
            was deposited into the Court Registry in February
            2014. These are net proceeds from sale of 2468
            Highlands Drive, Genoa NV. The transaction was not
            reflected in the MORs. Schedule B lists Genoa, NV
            Properties as a partnership or joint venture holding
            under Line Item 14.

   18       Claim for refund from IRS for the taxable                    354,500.00                       0.00                                   0.00                          FA
            year 1998.
            Seized by the IRS. See docket #797

   19       Claim of Unico due from Fair Skys                            365,000.00                       0.00                                   0.00                          FA
            pursuant to an assignment of funds on an
            attempt for an early distribution from a
            nonqualified rights to setoff claims.
            AP 07-04073 $352,920.09 deposited into Court
            Registry in March 2008 - settlement proceeds

   20       Motorcycle                                                      5,500.00                      0.00                                   0.00                          FA
            Liquidated pre-conversion, Deposited $3,500 in court
            registry. See docket #797

   21       28 Foot Uniflite Boat                                         12,000.00                       0.00                                   0.00                          FA
            Liquidated pre-conversion. Deposited $5,000 in court
            registry. See docket #797

   22       Trek Motor Home                                                 5,000.00                 15,000.00                              10,000.00                          FA
            Column 1 Petition value pulled from 1019 Statement
            filed as docket 797, page 8. Order approving sale
            docket 875, report of sale docket 876

   23       Deposit with court registry (u)                               80,153.89                  80,153.89                              80,153.89                          FA
            Deposit with court registry for liquidated assets. KNBK
            preparing motion for turnover. order docket 850, order
            sent to Fritzie Quach on 9/26 Principal portion.




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                                                              Asset Cases
Case No.:    06-42425                                                                               Trustee Name:      (001770) Sarah Little
Case Name:         POTTER, DEAN GORDON                                                              Date Filed (f) or Converted (c): 03/24/2016 (c)
                                                                                                    § 341(a) Meeting Date:       04/29/2016
For Period Ending:          06/21/2018                                                              Claims Bar Date:      07/15/2016

                                        1                                     2                    3                      4                    5                    6

                            Asset Description                              Petition/       Estimated Net Value     Property Formally     Sale/Funds            Asset Fully
                 (Scheduled And Unscheduled (u) Property)                Unscheduled      (Value Determined By        Abandoned        Received by the      Administered (FA)/
                                                                            Values               Trustee,             OA=§554(a)           Estate            Gross Value of
                                                                                         Less Liens, Exemptions,       abandon.                             Remaining Assets
  Ref. #                                                                                    and Other Costs)

   24       Potential malpractice claim against                              Unknown                        0.00                                   0.00                          FA
            current attorney (Hinds) for not pursuing
            malpractice claim against prior attorney
            for not pursuing fraudulent conveyance
            (u)
             Attempted to pursue via objection to final fee app of
            Hinds, but court would not revisit previous approval of
            fees. Reviewed information provided by Hinds as to
            transfers and decided no real malpractice claim against
            Hinds.

   25       Unico Services Inc. (u)                                          Unknown                    5,000.00                                   1.00                          FA
            Entity probably defunct, but it was included in offer from
            Randy Potter. Corp doesn't appear to have any value
            but Potter group purchase includes entity. giving
            nominal value as part of bigger settlement. Order
            approving compromise, docket 886, report of sale
            docket 887

   26       DIP Bank account 3022 (u)                                         1,533.97                  1,533.97                               1,533.97                          FA

   27       VOID (u)                                                              VOID                     VOID         VOID                       VOID                    VOID

   28       2013 State Tax Refund (u)                                             0.00                 18,197.68                              18,197.68                          FA
            2013 Tax Refund-State of CA


   28       Assets Totals (Excluding unknown values)                     $6,961,951.86           $1,219,885.54                         $1,209,885.54                       $0.00




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                                                     Asset Cases
Case No.:   06-42425                                                           Trustee Name:      (001770) Sarah Little
Case Name:      POTTER, DEAN GORDON                                            Date Filed (f) or Converted (c): 03/24/2016 (c)
                                                                               § 341(a) Meeting Date:     04/29/2016
For Period Ending:     06/21/2018                                              Claims Bar Date:      07/15/2016


 Major Activities Affecting Case Closing:

                            6/21/2018 fee app KNBKL filed, FTB amended claim submitting TFR
                            6/18/2018 reviewed Crom fee app, waiting for KNBKL fee app, waiting for FTB to file amended POC
                            5/22/18 Filed Report of Sale [Docket No. 888]
                            3/15/18 Order on compromise entered today (Docket # 882)
                            2/9/2018 Motion on compromise set for hearing (Docket # 877) 3/14/2018
                            1/31/2018 Jennings returned signed settlement - EAN preparing motion to approve
                            1/30/2018 Jennings (IRS) wantes to konw if potters can pay all funds w/45days of approval. Potter group
                            says yes, IRS should sign soon
                            1/6/18 EAN email Jennings, still pending with sup.
                            12/20/2017 All Potter group signed settlement, FTB Ok, IRS - Jennings submitted to Supervisor for approval,
                            waiting to here back.
                            10/16/2017 Bailey at FTB returned revised draft last week, circulated to Alvin et all, waiting for signatures
                            back from them or comments
                            8/3/2017 close to finalizing settlemnt with IRS/FTB & POtter group. Potter group signed settlement, FTB has
                            issues and is getting redline out
                            7/21/17 Filed Report of Sale of motorhome Docket # 876
                            4/25/17 Motion for Sale of Motorhome filed-docket #870, Order docket # 875
                            4/20/17 Rec'd $10000 check for motorhome. Nyberg working on Sale Motion
                            3/28/17-email to Potter's attorney's rejecting offer to purchase motorhome for $5000. Requested turnover of
                            keys and location.
                            3/15/17 Still working on settlement/sale of assets. Working on capital gain issues brought up by J. Crom.
                            1/20/2017 IRS/Jennings okay with deal but wants money sooner and won't sign release. Forwarded letter to
                            Alvin Thomas and asked Jennings to revise release language in paragraph 8 of settlement agreement.
                            12/21/2016 Circulated settlement to Strickland (FTB) Jennings (IRS) Thomas (Potter Group) gave IRS and
                            FTB to 1/13 to respond to settlement agreement. IF they decline agreement, will move forward with sale of
                            assets without settlement of prepetition bankruptcy claims. Received notice from IRS that estate tax returns
                            filed by Potter as DIP are not correct and IRS made assessment. Tax situation very messy due to all DIP
                            prepared returns during life of BK case. Jay Crom working through issues and we have not decided whether
                            he should amend DIP returns or not.
                            12/16/2016 Jennings responded he wants date for final payment accelerated.
                            8/2/2016 Marguerite Strickland at FTB is considering whether FTB will sign off on deal where estate gets
                            1,200,000.
                            7/27/2016 TFR date set out far because malpractice issue may need litigation and proposal by minority
                            shareholders requires 1 year to pay funds.
                            7/27/2016 727 extended for 60 days from today, Kuhner to prepare order, 2004 doc requests ordered and
                            served on Randy Potter, Michael, Unico Industrial Building 98 LLC
                            7/25/2016 Negotiating sale of Martinez property to Muir trust, waiting for offer, negotiating sale of HAP, Unico
                            Services, Co (defunct) Unico Mechanical Services to Randy Potter. In progress, trying to tie in IRS in deal.
                            Researching possible malpractice claim against attorney for estate (Hinds) for failure to pursue malpractice
                            claim against prior attorneys for failure to recover fraud conveyance (assets sold/transferred to sons)
                            7/14/16 Reviewed docket for amended schedules and Debtor's final report-Rule 1019 Statement. Updated
                            asset disposition in chapter 11 case and current value of remaining assets.
                            5/5/2016 Ch11 admin bar date set at 7/15/2016
                            4/25/2016 case converted from chapter 11. Investigating what properties are still in estate and current
                            values.

 Initial Projected Date Of Final Report (TFR): 07/31/2018             Current Projected Date Of Final Report (TFR):       07/31/2018


                     06/21/2018                                                    /s/Sarah Little
                        Date                                                       Sarah Little




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                                                               Form 2                                                                              Exhibit B
                                                                                                                                                   Page: 1
                                               Cash Receipts And Disbursements Record
Case No.:              06-42425                                           Trustee Name:                     Sarah Little (001770)
Case Name:             POTTER, DEAN GORDON                                Bank Name:                        Rabobank, N.A.
Taxpayer ID #:         **-***2416                                         Account #:                        ******5300 Checking
For Period Ending: 06/21/2018                                             Blanket Bond (per case limit): $64,276,124.00
                                                                          Separate Bond (if applicable): N/A
    1          2                           3                                      4                              5                    6                     7

  Trans.    Check or         Paid To / Received From          Description of Transaction        Uniform       Deposit        Disbursement           Account Balance
   Date      Ref. #                                                                            Tran. Code       $                  $

 05/24/16     {26}       D Gordon Potter                   bank account *******3022 turnover   1229-000           1,533.97                                       1,533.97
                                                           of DIP account funds

 05/31/16                Rabobank, N.A.                    Bank and Technology Services        2600-000                                    10.00                 1,523.97
                                                           Fees

 06/30/16                Rabobank, N.A.                    Bank and Technology Services        2600-000                                    10.00                 1,513.97
                                                           Fees

 07/29/16                Rabobank, N.A.                    Bank and Technology Services        2600-000                                    10.00                 1,503.97
                                                           Fees

 08/31/16                Rabobank, N.A.                    Bank and Technology Services        2600-000                                    10.00                 1,493.97
                                                           Fees

 09/30/16                Rabobank, N.A.                    Bank and Technology Services        2600-000                                    10.00                 1,483.97
                                                           Fees

 10/20/16     {23}       United States Treasury            Registry of the United States       1229-000          77,335.09                                      78,819.06
                                                           Bankruptcy Court for the Northern
                                Kansas City, MO            District of California. Principal

 10/20/16     {23}       United States Treasury            Registry of the United States       1229-000           2,818.80                                      81,637.86
                                                           Bankruptcy Court for the Northern
                                Kansas City, MO            District of California

 10/31/16                Rabobank, N.A.                    Bank and Technology Services        2600-000                                    32.71                81,605.15
                                                           Fees

 11/30/16                Rabobank, N.A.                    Bank and Technology Services        2600-000                                   124.86                81,480.29
                                                           Fees

 12/30/16                Rabobank, N.A.                    Bank and Technology Services        2600-000                                   116.87                81,363.42
                                                           Fees

 01/31/17                Rabobank, N.A.                    Bank and Technology Services        2600-000                                   124.80                81,238.62
                                                           Fees

 02/28/17                Rabobank, N.A.                    Bank and Technology Services        2600-000                                   109.06                81,129.56
                                                           Fees

 03/08/17     {28}       State of California               2013 tax year refund                1224-000          18,197.68                                      99,327.24

                                Franchise Tax Board, PO
                                Box 942840
                                Sacramento, CA 94240-
                                0040

 03/31/17                Rabobank, N.A.                    Bank and Technology Services        2600-000                                   139.77                99,187.47
                                                           Fees

 04/18/17     101        United States Treasury            2016 Form 7004 Tax ID 26-           2810-000                              32,000.00                  67,187.47
                                                           6057748
                                Internal Revenue Service
                                Center
                                Ogden, UT 84201

 04/18/17     102        Franchise Tax Board               2017 Form 541-ES Tax ID 26-         2820-000                              10,500.00                  56,687.47
                                                           6057748
                                P.O .Box 942867
                                Sacramento, CA 94267

 04/20/17     {22}       Randall G Potter                  Deposit for sale of Trek Motor      1129-000          10,000.00                                      66,687.47
                                                           home. Pending motion to approve
                                c/o Alvin L. Thomas, GC    sale
                                Consulting Solutions,
                                3333 Allen Parkway, Ste
                                2601

                                                                                        Page Subtotals:       $109,885.54           $43,198.07       true
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{ } Asset Reference(s)       UST Form 101-7-TFR (5/1/2011)                     18                                         ! - transaction has not been cleared
                                                              Form 2                                                                                    Exhibit B
                                                                                                                                                        Page: 2
                                              Cash Receipts And Disbursements Record
Case No.:              06-42425                                                Trustee Name:                       Sarah Little (001770)
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Taxpayer ID #:         **-***2416                                              Account #:                          ******5300 Checking
For Period Ending: 06/21/2018                                                  Blanket Bond (per case limit): $64,276,124.00
                                                                               Separate Bond (if applicable): N/A
    1          2                          3                                           4                                 5                  6                     7

  Trans.    Check or        Paid To / Received From              Description of Transaction            Uniform       Deposit         Disbursement        Account Balance
   Date      Ref. #                                                                                   Tran. Code       $                   $



                                Houston, TX 77019

 04/28/17                Rabobank, N.A.                       Bank and Technology Services            2600-000                                 132.43                66,555.04
                                                              Fees

 05/31/17                Rabobank, N.A.                       Bank and Technology Services            2600-000                                 105.29                66,449.75
                                                              Fees

 06/30/17                Rabobank, N.A.                       Bank and Technology Services            2600-000                                  95.57                66,354.18
                                                              Fees

 07/31/17                Rabobank, N.A.                       Bank and Technology Services            2600-000                                  92.25                66,261.93
                                                              Fees

 08/31/17                Rabobank, N.A.                       Bank and Technology Services            2600-000                                 104.84                66,157.09
                                                              Fees

 09/29/17                Rabobank, N.A.                       Bank and Technology Services            2600-000                                  91.98                66,065.11
                                                              Fees

 10/24/17                United States Treasury               refund for 12/2016 F 1041               2810-000                                 -13.14                66,078.25

                                Dept. of Treasury, Internal
                                Revenue Service Center
                                Ogden, UT 84201

 10/31/17                Rabobank, N.A.                       Bank and Technology Services            2600-000                                 101.36                65,976.89
                                                              Fees

 11/30/17                Rabobank, N.A.                       Bank and Technology Services            2600-000                                  94.89                65,882.00
                                                              Fees

 12/29/17                Rabobank, N.A.                       Bank and Technology Services            2600-000                                  91.60                65,790.40
                                                              Fees

 01/31/18                Rabobank, N.A.                       Bank and Technology Services            2600-000                                 104.09                65,686.31
                                                              Fees

 02/28/18                Rabobank, N.A.                       Bank and Technology Services            2600-000                                  88.18                65,598.13
                                                              Fees

 03/30/18                Rabobank, N.A.                       Bank and Technology Services            2600-000                                  94.35                65,503.78
                                                              Fees

 04/30/18                Potter Group                                                                                   50,000.00                                   115,503.78

              {13}                                            sale of interest in Unico Industrial    1129-000                                                      115,503.78
                                                              Service Co.

                                                                                      $49,999.00

              {25}                                            Sale of interest in Unico Services      1229-000                                                      115,503.78
                                                              Inc.

                                                                                              $1.00

 04/30/18                Potter Group                                                                                 1,050,000.00                               1,165,503.78

              {1}                                             Sale of Martinez raw land.              1110-000                                                   1,165,503.78
                                                              property sold subject to 1st deed
                                                              of trust

                                                                                     $826,000.00

              {15}                                            sale of interest in Blackrock           1129-000                                                   1,165,503.78
                                                              Factoring

                                                                                               Page Subtotals:     $1,100,000.00           $1,183.69      true
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                                                                                                                                                     Page: 3
                                               Cash Receipts And Disbursements Record
Case No.:                 06-42425                                         Trustee Name:                    Sarah Little (001770)
Case Name:                POTTER, DEAN GORDON                              Bank Name:                       Rabobank, N.A.
Taxpayer ID #:            **-***2416                                       Account #:                       ******5300 Checking
For Period Ending: 06/21/2018                                              Blanket Bond (per case limit): $64,276,124.00
                                                                           Separate Bond (if applicable): N/A
    1             2                        3                                      4                              5                      6                      7

  Trans.       Check or      Paid To / Received From            Description of Transaction      Uniform       Deposit             Disbursement        Account Balance
   Date         Ref. #                                                                         Tran. Code       $                       $



                                                                                 $224,000.00

 04/30/18                 Rabobank, N.A.                     Bank and Technology Services      2600-000                                     91.07              1,165,412.71
                                                             Fees

 05/31/18                 Rabobank, N.A.                     Bank and Technology Services      2600-000                                  1,738.43              1,163,674.28
                                                             Fees

                                               COLUMN TOTALS                                                  1,209,885.54               46,211.26          $1,163,674.28
                                                     Less: Bank Transfers/CDs                                           0.00                  0.00
                                               Subtotal                                                       1,209,885.54               46,211.26
        true
                                                     Less: Payments to Debtors                                                                0.00

                                               NET Receipts / Disbursements                                  $1,209,885.54             $46,211.26


                                                                                                                                                       false




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{ } Asset Reference(s)        UST Form 101-7-TFR (5/1/2011)                      18                                            ! - transaction has not been cleared
                                                       Form 2                                                               Exhibit B
                                                                                                                            Page: 4
                                       Cash Receipts And Disbursements Record
Case No.:           06-42425                                 Trustee Name:                   Sarah Little (001770)
Case Name:          POTTER, DEAN GORDON                      Bank Name:                      Rabobank, N.A.
Taxpayer ID #:      **-***2416                               Account #:                      ******5300 Checking
For Period Ending: 06/21/2018                                Blanket Bond (per case limit): $64,276,124.00
                                                             Separate Bond (if applicable): N/A

                                       Net Receipts:        $1,209,885.54
                            Plus Gross Adjustments:                 $0.00
                           Less Payments to Debtor:                 $0.00
                 Less Other Noncompensable Items:                   $0.00

                                         Net Estate:        $1,209,885.54




                                                                                                 NET                  ACCOUNT
                                 TOTAL - ALL ACCOUNTS                     NET DEPOSITS      DISBURSEMENTS             BALANCES
                                 ******5300 Checking                          $1,209,885.54         $46,211.26          $1,163,674.28

                                                                             $1,209,885.54               $46,211.26     $1,163,674.28




                 06/21/2018                                          /s/Sarah Little
                    Date                                             Sarah Little




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                                                                                          Exhibit C
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                                                                      Case: 06-42425 DEAN GORDON POTTER

                                                                                                                                                   Claims Bar Date:    7/15/16 12:00


                                                                       Claim Type/ Date                                        Amount Filed/                Paid           Claim
      Claim #        Claimant Name                                     Filed                   Acct#/ Memo/Journal                 Allowed                to Date         Balance

    ACCT EXP          Bachecki, Crom and Co. LLP                       Admin Ch. 7                                                   $ 409.11                  $0.00         $409.11
                      400 OYSTER POINT BLVD. SUITE 106                 06/16/18                                                      $ 409.11
                      SOUTH SAN FRANCISCO, CA 94080                                            app for comp docket 892

     ACCT FEE         Bachecki, Crom and Co. LLP                       Admin Ch. 7                                                $ 38,809.00                  $0.00       $38,809.00
                      400 OYSTER POINT BLVD. SUITE 106                 06/16/18                                                   $ 38,809.00
                      SOUTH SAN FRANCISCO, CA 94080                                            app for comp docket 892

    ADMIN TAX         Franchise Tax Board                              Admin Ch. 7                                                $ 36,556.00             $10,500.00       $26,056.00
                      Franchise Tax Board                              04/18/17                                                   $ 36,556.00
                      P.O. Box 942867                                                          Order authorizing first pmt 4/14/2017, docket 869
                      Sacramento, CA 94267                                                     Motion to approve final admin tax pymt docket 889

    ADMIN TAX         United States Treasury                           Admin Ch. 7                                                $ 44,766.00             $31,986.86       $12,779.14
                      Dept. of Treasury                                04/18/17                                                   $ 44,766.00
                      Internal Revenue Service Center                                          Order authorizing first pmt 4/14/2017, docket 869
                      Ogden, UT 84201                                                          Motion to approve final admin tax pymt docket 889

    ATTY - EXP        Kornfield, Nyberg, Bendes, Kuhner & LIttle PC    Admin Ch. 7                                                   $ 276.70                  $0.00         $276.70
                      1970 Broadway, Suite 225                         05/21/18                                                      $ 276.70
                      Oakland, CA 94612                                                        See docket 893

    ATTY - FEE        Kornfield, Nyberg, Bendes, Kuhner & LIttle PC    Admin Ch. 7                                                $ 49,422.50                  $0.00       $49,422.50
                      1970 Broadway, Suite 225                         05/21/18                                                   $ 49,422.50
                      Oakland, CA 94612                                                        see docket 893

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                                                                                                                                     Claims Bar Date:    7/15/16 12:00


                                                                  Claim Type/ Date                                   Amount Filed/            Paid           Claim
      Claim #         Claimant Name                               Filed                   Acct#/ Memo/Journal            Allowed            to Date         Balance

 CH11 ADM ATTY         Hinds & Shankman, LLP                      Admin Ch. 11                                          $ 2,006.79               $0.00        $2,006.79
                       21257 Hawthorne Blvd., Second Floor        06/07/16                                              $ 2,006.79
                       Torrance, CA 90503                                                 fee app order docket 859

                                                                                          10/09/2017 10:25:47 null
           FEE         Sarah Little                               Admin Ch. 7                                          $ 59,546.57               $0.00       $59,546.57
                       2415 San Ramon Valley Blvd., Suite 4432    03/28/17                                             $ 59,546.57
                       San Ramon, CA 94583


           TE          Sarah Little                               Admin Ch. 7                                             $ 291.66               $0.00         $291.66
                       2415 San Ramon Valley Blvd., Suite 4432    06/20/18                                                $ 291.66
                       San Ramon, CA 94583


            1          Bank Of America, N.A.(USA)                 Unsecured                                             $ 4,664.10               $0.00        $4,664.10
                       Attn: Mr.M-BK                              01/03/07                                              $ 4,664.10
                       P.O. Box 53160
                       Phoenix, AZ 85072-3160


            2          Kay Beeson                                 Secured                                             $ 915,000.00               $0.00      $915,000.00
                       14000 Eel River Road                       01/08/07                                            $ 915,000.00
                       Potter Valley, CA 94569


            3          World Savings Bank, FSB                    Secured                                             $ 515,893.11               $0.00      $515,893.11
                       P.O. Box 659558                            01/17/07                                            $ 515,893.11
                       San Antonio, TX 78265-9558

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                                                                                                                                                Claims Bar Date:    7/15/16 12:00


                                                                     Claim Type/ Date                                         Amount Filed/              Paid           Claim
      Claim #        Claimant Name                                   Filed                   Acct#/ Memo/Journal                  Allowed              to Date         Balance

           4          World Savings Bank, FSB                        Secured                                                    $ 378,918.21                $0.00      $378,918.21
                      P.O. Box 659558                                01/17/07                                                   $ 378,918.21
                      San Antonio, TX 78265-9558


           5          Franchise Tax Board                            Unsecured                                                         $ 0.00               $0.00              $0.00
                      Bankruptcy Section MS A340                     03/05/07                                                          $ 0.00
                      PO Box 2952                                                            Claim filed for $0.00.
                      Sacramento, CA 95812-2952

           6          LVNV Funding LLC its successors and assigns    Unsecured                                                      $ 133.88                $0.00         $133.88
                      as                                             03/28/07                                                       $ 133.88
                      assignee of OSI Resurgent Capital Services
                      PO Box 10587
                      Greenville, SC 29603-0587


           7          Franchise Tax Board                            Unsecured                                                $ 1,194,343.39                $0.00              $0.00
                      Bankruptcy Section MS A340                     05/11/07                                                          $ 0.00
                      PO Box 2952                                                            Claim 7-1, 5/11/07 filed for unknown amount.
                      Sacramento, CA 95812-2952                                              Claim 7-2, 5/31/07 filed for estimated amount
                                                                                             Claim amended by 9-1, filed 10/25/2007



           8S         Internal Revenue ServiceSpecial Procedures     Secured                                                  $ 2,455,628.06                $0.00    $2,455,628.06
                      Section                                        06/07/07                                                 $ 2,455,628.06
                      1301 Clay Street, Stop 1400S
                      Oakland, CA 94612-5210                                                 Claim amended by 8-2 filed 6/12/18



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                                                                     Claim Type/ Date                                           Amount Filed/                 Paid            Claim
      Claim #         Claimant Name                                  Filed                     Acct#/ Memo/Journal                  Allowed                 to Date          Balance

           8U          Internal Revenue ServiceSpecial Procedures    Unsecured                                                      $ 305,616.00                  $0.00      $305,616.00
                       Section                                       06/07/07                                                       $ 305,616.00
                       1301 Clay Street, Stop 1400S
                       Oakland, CA 94612-5210                                                  Claim 8-2 filed 6/12/2018, amends claim 8-1
                                                                                               General unsecured claim for pre-petition taxes.

  8-2 Unsec Penal      Internal Revenue ServiceSpecial Procedures    Unsecured                                                      $ 837,750.00                  $0.00      $837,750.00
                       Section                                       06/07/07                                                       $ 837,750.00
                       1301 Clay Street, Stop 1400S
                       Oakland, CA 94612-5210                                                  Claim 8-2 filed 6/12/2018
                                                                                               General unsecured claim for pre-petition penalties
                                                                                               Unsecured penalty claim subordinated to general unsecured claims per settlement
                                                                                               agreement.


           8-2P        Internal Revenue ServiceSpecial Procedures    Priority Unsecured                                              $ 49,733.00                  $0.00        $49,733.00
                       Section                                       06/07/07                                                        $ 49,733.00
                       1301 Clay Street, Stop 1400S
                       Oakland, CA 94612-5210                                                  Claim 8-2 filed 6/12/18 amends 8-1


  9-4 Unsec Penal      Franchise Tax Board                           Unsecured                                                      $ 134,120.25                  $0.00      $134,120.25
                       Bankruptcy Section MS A340                    10/25/07                                                       $ 134,120.25
                       PO Box 2952                                                             Claim 9-4, filed 6/19/18 general unsecured claim is only for penalties. Settlement
                       Sacramento, CA 95812-2952                                               agreement provides that penalty claims of FTB and IRS are to be subordinated to
                                                                                               unsecured general non-penalty claims.




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                                                                    Claim Type/ Date                                          Amount Filed/             Paid           Claim
      Claim #         Claimant Name                                 Filed                     Acct#/ Memo/Journal                 Allowed             to Date         Balance

           9-4P        Franchise Tax Board                          Priority Unsecured                                           $ 22,805.59               $0.00       $22,805.59
                       Bankruptcy Section MS A340                   03/12/14                                                     $ 22,805.59
                       PO Box 2952                                                            Claim 9-1, filed 10/25/2007 amends claim 7-2
                       Sacramento, CA 95812-2952                                              Claim 9-2, filed 3/5/2012 amends 9-1
                                                                                              Claim 9-3, filed 3/12/2014, amends 9-2
                                                                                              Claim 9-4, filed 6/19/2018, amends 9-3


           10          Office of the United States Trustee          Admin Ch. 7                                                  $ 16,250.00               $0.00       $16,250.00
                       1301 Clay Street, Suite 690N                 04/29/16                                                     $ 16,250.00
                       Oakland, CA 94612


           11          Hinds & Shankman, LLP                        Admin Ch. 11                                                 $ 40,644.38               $0.00       $37,142.40
                       21257 Hawthorne Blvd., Second Floor          06/07/16                                                     $ 37,142.40
                       Torrance, CA 90503                                                     fee app order docket 859

                                                                                                                                 Case Total:          $42,486.86    $5,863,252.07




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                                     TRUSTEE'S PROPOSED DISTRIBUTION
                                                                                                               Exhibit D


    Case No.: 06-42425
    Case Name: DEAN GORDON POTTER
    Trustee Name: Sarah Little

                                                       Balance on hand:      $                         1,163,674.28

           Claims of secured creditors will be paid as follows:

  Claim      Claimant                                           Claim      Allowed            Interim         Proposed
  No.                                                        Asserted      Amount           Payments           Payment
                                                                           of Claim           to Date


                                                          None


                                                   Total to be paid to secured creditors:       $                   0.00
                                                   Remaining balance:                           $           1,163,674.28

           Applications for chapter 7 fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                           Total            Interim         Proposed
                                                                         Requested          Payments           Payment
                                                                                              to Date

  Trustee, Fees - Sarah Little                                             59,546.57                0.00       59,546.57
  Trustee, Expenses - Sarah Little                                            291.66                0.00         291.66
  Attorney for Trustee Fees - Kornfield, Nyberg, Bendes, Kuhner &          49,422.50                0.00       49,422.50
  LIttle PC
  Fees, United States Trustee                                              16,250.00                0.00       16,250.00
  Income Taxes - Internal Revenue Service (post-petition) - United         44,766.00        31,986.86          12,779.14
  States Treasury
  Other State or Local Taxes (post-petition) - Franchise Tax Board         36,556.00        10,500.00          26,056.00
  Attorney for Trustee, Expenses - Kornfield, Nyberg, Bendes, Kuhner          276.70                0.00         276.70
  & LIttle PC
  Accountant for Trustee Fees (Other Firm) - Bachecki, Crom and Co.        38,809.00                0.00       38,809.00
  LLP
  Accountant for Trustee Expenses (Other Firm) - Bachecki, Crom and           409.11                0.00         409.11
  Co. LLP
                        Total to be paid for chapter 7 administrative expenses:                 $             203,840.68
                        Remaining balance:                                                      $             959,833.60




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            Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                            Total             Interim         Proposed
                                                                          Requested           Payments           Payment
                                                                                                to Date

  Prior Chapter Attorney for Trustee/DIP Fees (Other Firm) - Hinds &        37,142.40                 0.00       37,142.40
  Shankman, LLP
  Prior Chapter Attorney for Trustee/DIP Expenses (Other Firm) -             2,006.79                 0.00        2,006.79
  Hinds & Shankman, LLP

                       Total to be paid for prior chapter administrative expenses:                $              39,149.19
                       Remaining balance:                                                         $             920,684.41

              In addition to the expenses of administration listed above as may be allowed by the Court,
      priority claims totaling $72,538.59 must be paid in advance of any dividend to general (unsecured)
      creditors.
              Allowed priority claims are:
  Claim       Claimant                              Allowed Amount          Interim Payments                    Proposed
  No.                                                      of Claim                   to Date                    Payment

  8-2P        Internal Revenue ServiceSpecial               49,733.00                     0.00                   49,733.00
              Procedures Section
  9-4P        Franchise Tax Board                           22,805.59                     0.00                   22,805.59

                                                      Total to be paid for priority claims:       $              72,538.59
                                                      Remaining balance:                          $             848,145.82

             The actual distribution to wage claimants included above, if any, will be the proposed payment
      less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).
             Timely claims of general (unsecured) creditors totaling $310,413.98 have been allowed and will
      be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
      timely allowed general (unsecured) dividend is anticipated to be 100.0 percent, plus interest (if
      applicable).
            Timely allowed general (unsecured) claims are as follows:
  Claim       Claimant                              Allowed Amount          Interim Payments                    Proposed
  No.                                                      of Claim                   to Date                    Payment

  1           Bank Of America, N.A.(USA)                      4,664.10                    0.00                    4,664.10
              Attn: Mr.M-BK
  6           LVNV Funding LLC its                             133.88                     0.00                     133.88
              successors and assigns as
              assignee of OSI Resurgent
              Capital Services
  8U          Internal Revenue ServiceSpecial              305,616.00                     0.00                  305,616.00
              Procedures Section
                         Total to be paid for timely general unsecured claims:                    $            310,413.98
                         Remaining balance:                                                       $            537,731.84




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           Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will be
    paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
    have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
    applicable).
           Tardily filed general (unsecured) claims are as follows:
  Claim     Claimant                               Allowed Amount        Interim Payments                Proposed
  No.                                                     of Claim                 to Date                Payment

                                                        None


                        Total to be paid for tardily filed general unsecured claims:          $               0.00
                        Remaining balance:                                                    $         537,731.84

            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
    subordinated by the Court totaling $971,870.25 have been allowed and will be paid pro rata only after
    all allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend
    for subordinated unsecured claims is anticipated to be 55.3 percent, plus interest (if applicable).
            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
    subordinated by the Court are as follows:
  Claim     Claimant                               Allowed Amount        Interim Payments                Proposed
  No.                                                     of Claim                 to Date                Payment

  8-2       Internal Revenue ServiceSpecial              837,750.00                    0.00             463,523.65
  Unsec     Procedures Section
  Penal
  9-4       Franchise Tax Board                          134,120.25                    0.00              74,208.19
  Unsec
  Penal

                                                 Total to be paid for subordinated claims: $            537,731.84
                                                 Remaining balance:                        $                  0.00




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